Case 2:15-cv-01184-JRG-RSP Document 8 Filed 07/12/16 Page 1 of 1 PageID #: 82




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §              Case No: 2:15-cv-01169-RWS-RSP
                                    §
vs.                                 §              LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
.     Plaintiff,                    §              Case No: 2:15-cv-01184-JRG-RSP
                                    §
vs.                                 §              CONSOLIDATED CASE
                                    §
TD BANK N.A.                        §
                                    §
      Defendant.                    §
___________________________________ §

                                           ORDER

       On this day the Court considered the Unopposed Motion to Dismiss TD BANK N.A. It is
therefore ORDERED that all claims by Plaintiff Symbology Innovations LLC are hereby
DISMISSED WITH PREJUDICE, and all claims by Defendant are hereby DISMISSED AS
      SIGNED
MOOT, with      this 3rd
           each party     day its
                      to bear of January,
                                  own costs,2012.
                                             expenses and attorneys’ fees.
        SIGNED this 12th day of July, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
